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                                            Case 1:16-cv-02234-SHR   COVER1-1SHEET
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l. (a) PLAINTIFFS                                                                                                                           DEFENDANTS
Luis M. Millan Diaz and Monica A. Nottola, his wile, individually and Luis                                                                United Stales ol America
14. Millan Diaz, as Parent and Natural Guardian of FA.l\4.N., a minor

      (b)    County ofRcsrdence ol First Lisled Plainliff Ftank!                                                                            County of Residence ol- f irst l-rsred Defcndanl
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DiLoreto Cosentino & Bolinger
PO. Box 866
Chambersburg, PA 17201
lI.    BAS| S OF JURISDICTION                                  //,/,*., .t         ot(rtcBotoht!)                           t. CITIZENSHIP OF PRINCI PAL PARTI                                                    ES,cr,"
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